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SNC Distribution, LLC




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                              Attachment to Proof of Claim of

The amount of the claim is $1,000,000 plus music royalties, taxes, and other charges and
damages arising from rejection of a license agreement between MGM Domestic Television
Distribution LLC and SNC Distribution, LLC. A copy of the agreement is available upon
request and execution of an appropriate non-disclosure agreement.
